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IN THE UNITED STATES DISTRICT COURT 0/54(/@ /9 \
FOR THE WESTERN DISTRICT OF TENNESSEE

   

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CANAL INSURANCE COMPANY, ) '
)
Plaintiff, )
)
vs. ) No. 05-1085-T-An
)
N.L. MONTGOMERY AND SON )
SAWMILL, INC., et al., )
)
Defendants. )

 

ORDER GRANTING PLAINTIFF’S MOTIONS FOR DEFAULT JUDGMENTS

 

Plaintiff filed this action against Defendants, seeking a declaratory judgment that
Defendants are not covered under an insurance policy issued by Plaintiff to N.L.
Montgomery and Son Sawmill, Inc., for an accident that is the subject of a tort action in the
Circuit Court of McNairy County, Tennessee.l Jurisdiction is based on diversity of
citizenship, 28 U.S.C. § 1332. On August 4, 2005, the Clerk of the Court entered default
against Defendants Mike Riley, Jr., and Mike Riley, Sr.2 Plaintiff has now moved the court

to grant a default judgment against these Defendants [Docket #s 20, 21]. For the reasons

 

1 The Declaratory Judgment Act, 28 U.S.C. § 2201, grants a district court discretion to decide an insurance
coverage diversity case. Grand Trunk Western Railroad Companv v. Consolidated Rail Corooration, 746 F.Zd 323
(6'h Cir. 1934).

2 “When a party against whom a judgment for affirmative relief is sought has failed to plead or otherwise
defend as provided by these rules and that fact is made to appear by affidavit or otherwise, the clerk shall enter the
party's default.” Fed. R. Civ. P. 55(a).

This document entered on the docket sheet in compliance

with Ruie 58 and,'or_?§ (a) FRCP on Q% '0"3 415

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set forth below, Plaintiff’s motions for default judgments are GRANTED.

Under Rule 55 of the F ederal Rules of Civil Procedure, the court may grant a default
judgment against a defendant who has failed to file an answer or motion to dismiss within
twenty days from the date that the complaint was filed, or within such additional time as the
Court has granted Rule 55 serves to protect a diligent party “lest he be faced with
interminable delay and continued uncertainty as to his ri ghts.” Wri ght, Miller, Kane, F ederal
Practz'ce and Procedure.' Civl`[ § 2681.

Because Defendants Mike Riley, Jr., and Mike Riley, Sr., have failed to file an
answer or otherwise defend this action, Plaintiff’ s motions for default judgments against
Defendants Riley are GRANTED. Plaintiff has no duty to defend Defendants Mike Riley,
Jr., and Mike Riley, Sr., or to provide coverage for them under the policy that it issued to
Defendant N.L. Montgomery and Son Sawmill, Inc., for the claims asserted against
Defendants in an action pending in the Circuit Court of McNairy County, Tennessee, and
bearing docket number 5383. The issues of the duty to defend and coverage for the
remaining defendants remain unresolved

IT IS SO ORDERED.

JA S D. TODD
ED STATES DISTRICT JUDGE

/VWaa-ar

DATE 0

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 1:05-CV-01085 was distributed by faX, mail, or direct printing on
August 22, 2005 to the parties listed.

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US DISTRICT COURT

